              Case 3:22-cr-00390-RS Document 12 Filed 06/07/22 Page 1 of 3



 1   JODI LINKER
     Federal Public Defender
 2   Northern District of California
     ELISSE LAROUCHE
 3   Assistant Federal Public Defender
     19th Floor Federal Building - Box 36106
 4
     450 Golden Gate Avenue
 5   San Francisco, CA 94102
     Telephone: (415) 436-7700
 6   Facsimile: (415) 436-7706
     Email:       Elisse_Larouche@fd.org
 7

 8   Counsel for Defendant Reyes Aleman
 9

10                                 IN THE UNITED STATES DISTRICT COURT
11                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                       SAN FRANCISCO DIVISION
13

14    UNITED STATES OF AMERICA,                             Case No.: CR 2022–70740 LB
15                    Plaintiff,                            OPPOSITION TO GOVERNMENT'S
                                                            MOTION FOR ORDER WAIVING TEN-
16            v.                                            DAY NOTICE
17    MAYCOL REYES ALEMAN,                                  Court:           Courtroom C, 15th Floor
18                    Defendant.                            Hearing Date:    June 8, 2022
                                                            Hearing Time:    10:30 a.m.
19
           The defendant, Maycol Reyes Aleman, opposes the government’s motion for an order waiving
20
     the ten-day notice requirement of 18 U.S.C. § 2518(9) for the defendant’s bail hearing on
21
     Wednesday, June 8, 2022. The Court should deny the motion because the defendant would be
22
     prejudiced having only received the wiretap application and wiretap line sheets on the evening of
23
     Monday, June 6, 2022.
24
           Section U.S.C. § 2518(9) sets out that “[t]he contents of any wire, oral, or electronic
25
     communication intercepted . . . shall not be received in evidence or otherwise disclosed in any trial,
26
     hearing, or other proceeding in a Federal or State court, unless each party, not less than ten days
27
     before the trial, hearing, or proceeding has been furnished with a copy of the court order, and
28

     OPPOSITION TO GOVERNMENT'S MOTION FOR ORDER WAIVING TEN-DAY NOTICE
     REYES ALEMAN, CR 2022–70740 LB
                                                        1
              Case 3:22-cr-00390-RS Document 12 Filed 06/07/22 Page 2 of 3



 1   accompanying application, under which the interception was authorized or approved.” (emphasis
 2   added). Here, the government provided defense counsel with the court order and application not even
 3   two days prior to the bail hearing. This does not comply with the default rule of ten days’ notice.
 4         The exception to the general rule of ten days’ notice prior to disclosure only applies if the judge
 5   finds: 1) that it was not possible to furnish the party with the above information before the hearing;
 6   and 2) that the party will not be prejudiced by the delay in receiving such information. The second
 7   requirement is not met. The government seeks to introduce damaging wire intercept evidence against
 8   Mr. Reyes Aleman in its effort to ensure he remains detained. Having just received the wiretap
 9   application and court order less than 48 hours before the hearing, the defense does not have adequate
10   time to research, investigate, determine whether there any infirmities with the application, or
11   otherwise mount an argument against the introduction of the wiretap evidence. A less than two-day
12   preparation time, in contrast to the ten days outlined by statute, impacts the most important of Mr.
13   Reyes Aleman’s interests – his liberty. Further, there do not appear to be any extraordinary
14   circumstances warranting disclosure of the wiretap information at the bail hearing. The Court is
15   already aware of various wire intercept information, which was included in the complaint. The
16   government will also likely rely on information from law enforcement and evidence seized during the
17   search and arrest to make its argument for detention. This information will give the Court a full
18   picture of the information it needs to consider the nature and circumstances of the charged offense,
19   weight of the evidence, and nature and seriousness of the danger to the community. If the government
20   could merely assert its desire to give the Court a fuller picture of all of a defendant’s offense conduct
21   in order to circumvent the notice requirement of 18 U.S.C. § 2518(9) at a bail hearing, it would
22   eviscerate any real teeth of the provision and its requirement for ten days’ notice before a hearing.
23         As to the first requirement of the exception to notice, while the government could not have
24   produced the wiretap court order and application ten days prior to the scheduled bail hearing on June
25   8 given the defendant’s initial appearance on June 3, it certainly could have provided it sooner than
26   June 6 if it intended to use the wiretap information at the bail hearing. The government has had these
27   wiretaps and just as they were prepared to charge and arrest Mr. Reyes Aleman, they should have
28   been prepared to notice and produce to the defense the wiretaps. Moreover, the defendant has a

     OPPOSITION TO GOVERNMENT'S MOTION FOR ORDER WAIVING TEN-DAY NOTICE
     REYES ALEMAN, CR 2022–70740 LB
                                                         2
              Case 3:22-cr-00390-RS Document 12 Filed 06/07/22 Page 3 of 3



 1   constitutional right to a prompt bail hearing and a right to hearing within three days per 18 U.S.C.
 2   § 3142(f). That the government wants to make a stronger case against Mr. Reyes Aleman at his bail
 3   hearing does not take precedence over his important right to seek bail.
 4         Finally, none of the cases cited by the government are persuasive, binding authority and they
 5   are also distinguishable. See United States v. Valenzuela, No. 10CR3044 WQH, 2010 WL 3584530,
 6   at *3 (S.D. Cal. Sept. 8, 2010) (district court denied defendant’s motion to suppress wiretap evidence
 7   at bail hearing finding, in a footnote, no prejudice to defendant and that the court would have
 8   continued the bail hearing for ten days in any event); United States v. Tortora, 922 F.2d 880, 886 (1st
 9   Cir. 1990) (this out-of-circuit case does not reference 18 U.S.C. § 2518(9) and thus does not address
10   the notice exception requirements); United States v. Berrios-Berrios, 791 F.2d 246, 253 (2d Cir.
11   1986) (determining, under an abuse of discretion standard, that the district court did not err in
12   admitting results of electronic surveillance because most of the materials were previously disclosed in
13   a state court hearing and the defense team had an opportunity to review the documents and because
14   the judge had a colloquy in which the court determined there was no prejudice to the defense).
15         In sum, the Court should find that the two requirements for the exception to notice in 18 U.S.C.
16   § 2518(9) are not met because the lack of timely notice prejudices Mr. Reyes Aleman’s ability to be
17   fully prepared in a hearing affecting his important liberty interests. The government’s suggestion that
18   there is no prejudice because Mr. Reyes Aleman can later litigate the sufficiency of the wiretap at
19   trial or reopen bond does not acknowledge that every additional day in custody is prejudicial to him.
20   Accordingly, the Court should not permit the government to disclose wire intercept information at the
21   bail hearing.
22

23        Dated:     June 7, 2022                            Respectfully submitted,

24                                                           JODI LINKER
                                                             Federal Public Defender
25                                                           Northern District of California
26                                                                     /S
                                                             ELISSE LAROUCHE
27
                                                             Assistant Federal Public Defender
28

     OPPOSITION TO GOVERNMENT'S MOTION FOR ORDER WAIVING TEN-DAY NOTICE
     REYES ALEMAN, CR 2022–70740 LB
                                                         3
